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Cells Housing One Inmate
Cells Housing Two Inmates
Total Population

Percentage Inmates Single Celled
Percentage Inmates Double Celled

Cells Housing One Inmate
Cells Housing Two Inmates
Total Population

Percentage Inmates Single Celled
Percentage Inmates Double Celled

Number of Cells Housing One Inmate and Two Inmates at the Central Detention Facility

3/15/2020 16/2020 3/17/2020 3/18/2020

462
412
1290

36%
64%

4/1/2020
470
326
1125

425%
58%

AGT
408
1287

36%
63%

4/2/2020
AT2
317
1109

43%
57%

449
413
1278

35%
65%

4/3/2020
458
318
1097

42%
58%

445
406
1260

35%
64%

4/4/2020

312
1091

43%
57%

3/19/2020 3/20/2020

447
396
1242

36%
64%

4/5/2020
478
306
1093

44%
56%

602
362
1229

41%
59%

4/6/2020
478
306
1093

44%
56%

March 15 - April 13, 2020
Based on Department of Corrections Data

3/21/2020 3/22/2020 3/23/2020 3/24/2020 3/25/2020 3/26/2020 3/27/2020 3/28/2020 3/29/2020 3/30/2020 3/31/2020

S07
354
1218

42%
58%

4/7/2020
475
300
1078

44%
56%

612
350
1215

42%
58%

4/8/2020
478
297

1075

44%
55%

520
346
1215

43%
57%

4/9/2020 4/10/2020 4/11/2020 4/12/2020 4/13/2020

469
299
1071

44%
56%

452
370
4195

38%
62%

452
301
1058

43%
57%

457
358
1176

39%
61%

455
292
1042

4A%
56%

458
353
1167

39%
60%

452
293
1044

43%
56%

451
31
1156

39%
61%

452
293
1041

43%
56%

474 467
334 333
1146 1136
41% 41%
58% 59%
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Number of Cells Housing One Inmate and Two Inmates at the Correctional Treatment Facility
March 15 - April 13, 2020
Based on Department of Corrections Data

3/19/2020 3/20/2020 3/21/2020 3/22/2020 3/23/2020 3/24/2020 3/25/2020 3/26/2020 3/27/2020 3/28/2020 3/29/2020 3/30/2020 3/31/2020

3/15/2020 3/16/2020 3/17/2020 3/18/2020
Celis Housing One Inmate 396 395 391 391 390 384 389 389 383 372 372 352 348 339 344 342 346
Cells Housing Two Inmates 82 83 78 75 T4 72 68 69 67 72 72 fg ral 72 69 69 65
Total Population 575 561 547 541 538 528 525 S27 si 516 516 510 491 483 482 480 476
Percentage Inmates Single Celled 69% 70% 71% 72% 72% 73% 74% 74% T4% 72% 12% 69% 71% 70% 71% 71% 73%
Percentage Inmates Double Celled 29% 30% 29% 28% 28% 27% 26% 26% 26% 28% 28% 31% 29% 30% 29% 29% 27%

4/2020 «4/2/2020» «4/3/2020 «4/4/2020 «4/5/2020 4/6/2020 4/7/2020 4/8/2020 4/9/2020 4/10/2020 4/11/2020 4/12/2020 4/13/2020

Calls Housing One Inmate 449 349 342 330 332 332 324 307 303 315 360 375 379
Calls Housing Two Inmates 62 55 53 aT 46 46 47 54 53 AT 20 13 W

Total Population 473 459 448 424 424 424 418 415 403 403 400 404 401
Percentage Inmates Single Celled 74% 76% 76% 78% TBY% 78% 78% 74% 74% 77% 90% 94% 95%.
Percentage Inmates Double Celled 26% 24% 24% 22% 22% 22% 22% 26% 26% 23% 10% 6% 5%
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Urgent Care Visits at CDF And CTF, by Day
February 15 - April 15, 2020
Based on Unity Health Care Data

200
Total Urgent Care Visits = 3,439
180

Urgent Care Visits at CDF = 2,488
Urgent Care Visits at CTF = 951

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120

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Ex. 4
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2/15/2020
2/16/2020
2/17/2020
2/18/2020
2/19/2020
2/20/2020
2/21/2020
2/22/2020
2/23/2020
2/24/2020
2/25/2020
2/26/2020
2/27/2020
2/28/2020
2/29/2020
3/1/2020
3/2/2020
3/3/2020
3/4/2020
3/5/2020
3/6/2020
3/7/2020
3/8/2020
3/9/2020
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4/12/2020

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80

70

60

50

40

30

20

Urgent Care Medical Encounters With Clinical Summary Descriptions
Including The Word "Covid," by Day
February 15 - April 15, 2020
Based on Unity Health Care Data

References to "Covid" included, but were not limited to, the following:

- "Covid 19 provider assessment"

-"Covid 19 provider initial assessment"

-"Covid 19 provider follow up assessment"

-"Covid 19 PUI provider assessment" or "PUI for covid 19 assessment"

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Ex. 6
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Johnson, Lennard (DOC)

From: Blackmon, Keena (DOC)
Sent: Friday, April 03, 2020 9:28 PM
To: DOC CDF Mailing List; DOCHQMailingList

Subject: | EFFECTIVE SATURDAY, APRIL 4, 2020: Medical Stay-In-Place

 

THE DEPARTMENT
OF CORRECTIONS

Medical Stay-In-Place

|

 

Saturday, April 4, 2020 — Your health and safety is extremely important to us. Together, everyone needs to
play their part in helping to flatten the curve. To mitigate the possible spread of coronavirus (COVID-19)
through DC Department of Corrections (DC DOC) facilities, the Department will implement a medical stay-in-
place, effective immediately, which will further limit movement of residents and help “flatten the curve”, as
we anticipate the pandemic’s peak in the next several weeks.

During the medical stay in place, the following activities will occur:

Mail services will continue as scheduled;

Residents will largely be restricted to their cells with the exception of a modified recreation schedule,
where groups no larger than five are out at any one time, and practice social distancing of six feet to
the fullest extent possible; :

All non-urgent medical visits will be re-scheduled to minimize movement. To the extent possible

medical care will be provided on the unit;

Commissary will continue once a week as scheduled;

‘Laundry will continue once a week as scheduled;

‘Out of cell time of 30 minutes each day for phone calls, showers, and cell wipe down;

Parole Commission and Video Court Hearings would continue;
Medical escorts will continue for matters that cannot be handled on the unit;
Disciplinary hearings will continue as scheduled;

Culinary and Environmental details will continue as scheduled; te

 
 

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¢ Stop all group activities and minimize the number of residents participating in recreation on tier (no

more than 10 at a time);
e Cease all movement between facilities unless in an emergency situation;
e Cease all video visitation; and

¢ Cease all visits with attorneys unless actively in trial for the same reason listed above.

These changes are for the health and safety of our workforce, residents, and contractors.

Please continue to utilize health and safety precautions to help keep our DOC facilities, staff, and residents
safe and healthy. Follow the guidance below on how to reduce your risk of infection and slow its spread.

¢ Thoroughly wash your hands for at least 20 seconds.

e Avoid close contact with people who are sick.

e Avoid touching your eyes, nose, and mouth

e Sanitize your equipment.

¢ Follow the safety protocols in place at each of the DOC facilities.

* If you are sick, contact your healthcare provider and request sick leave through
your supervisor, |

Thank you for your continued commitment to serving our city and our neighbors,

For the latest information on the District Government’s response to COVID-19 (Coronavirus), please visit
coronavirus.dc. gov.

 
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Ex. 7
Interim Guidance on Management of Coronavirus

2019 (COVID-19) in Correctional and Detent Dr

 

This interim guidance is based on what is currently known about the transmission and severity of corona-
virus disease 2019 (COVID-19) as of March 23, 2020.

The US Centers for Disease Control and Prevention (CDC) will update this guidance as needed and as
additional information becomes available. Please check the following CDC website periodically for updated
interim guidance: https://www.cdc.gov/coronavirus/2019-ncov/index.html.

This document provides interim guidance specific for correctional facilities and detention centers during the
outbreak of COVID-19, to ensure continuation of essential public services and protection of the health and
safety of incarcerated and detained persons, staff, and visitors. Recommendations may need to be revised as

more information becomes available.

In this guidance

« Who is the intended audience for this
guidance?

» Why is this guidance being issued?

* What topics does this guidance
include?

* Definitions of Commonly Used Terms

° Facilities with Limited Onsite
Healthcare Services

* COVID-19 Guidance for Correctional
Facilities

« Operational Preparedness

* Prevention

* Management

« Infection Control

¢ Clinical Care of COVID-19 Cases

» Recommended PPE and PPE Training
for Staff and Incarcerated/Detained
Persons

* Verbal Screening and Temperature
Check Protocols for Incarcerated/
Detained Persons, Staff, and Visitors

 

Who is the intended audience
for this guidance?

  

This document is intended to
provide guiding principles for
healthcare and non-healthcare
administrators of correctional
and detention facilities
(including but not limited

to federal and state prisons,

local jails, and detention centers),
law enforcement agencies that
have custodial authority for detained populations (i.e., US
Immigration and Customs Enforcement and US Marshals
Service), and their respective health departments, to assist in
preparing for potential introduction, spread, and mitigation

of COVID-19 in their facilities. In general, the document uses
terminology referring to correctional environments but can also
be applied to civil and pre-trial detention settings.

This guidance will not necessarily address every possible
custodial setting and may not use legal terminology specific

to individual agencies’ authorities or processes. The guidance
may need to be adapted based on individual facilities’
physical space, staffing, population, operations, and
other resources and conditions. Facilities should contact
CDC or their state, local, territorial, and/or tribal public health
department if they need assistance in applying these principles
or addressing topics that are not specifically covered in this
guidance.

cdc.gov/coronavirus
Why is this guidance being issued?

Correctional and detention facilities can include custody, housing, education, recreation, healthcare, food
service, and workplace components in a single physical setting. The integration of these components presents
unique challenges for control of COVID-19 transmission among incarcerated/detained persons, staff, and
visitors. Consistent application of specific preparation, prevention, and management measures can help
reduce the risk of transmission and severe disease from COVID-19.

Incarcerated/detained persons live, work, eat, study, and recreate within congregate environments,
heightening the potential for COVID-19 to spread once introduced.

In most cases, incarcerated/detained persons are not permitted to leave the facility.

There are many opportunities for COVID-19 to be introduced into a correctional or detention facility,
including daily staff ingress and egress; transfer of incarcerated/detained persons between facilities and
systems, to court appearances, and to outside medical visits; and visits from family, legal representatives,
and other community members. Some settings, particularly jails and detention centers, have high turnover,

admitting new entrants daily who may have been exposed to COVID-19 in the surrounding community or
other regions.

Persons incarcerated/detained in a particular facility often come from a variety of locations, increasing the
potential to introduce COVID-19 from different geographic areas.

Options for medical isolation of COVID-19 cases are limited and vary depending on the type and size of

facility, as well as the current level of available capacity, which is partly based on medical isolation needs for
other conditions.

Adequate levels of custody and healthcare staffing must be maintained to ensure safe operation of the
facility, and options to practice social distancing through work alternatives such as working from home or
reduced/alternate schedules are limited for many staff roles.

Correctional and detention facilities can be complex, multi-employer settings that include government
and private employers. Each is organizationally distinct and responsible for its own operational, personnel,
and occupational health protocols and may be prohibited from issuing guidance or providing services to
other employers or their staff within the same setting. Similarly, correctional and detention facilities may
house individuals from multiple law enforcement agencies or jurisdictions subject to different policies and
procedures.

Incarcerated/detained persons and staff may have medical conditions that increase their risk of severe
disease from COVID-19.

Because limited outside information is available to many incarcerated/detained persons, unease and

misinformation regarding the potential for COVID-19 spread may be high, potentially creating security and
morale challenges.

The ability of incarcerated/detained persons to exercise disease prevention measures (e.g., frequent
handwashing) may be limited and is determined by the supplies provided in the facility and by security

considerations. Many facilities restrict access to soap and paper towels and prohibit alcohol-based hand
sanitizer and many disinfectants.

Incarcerated persons may hesitate to report symptoms of COVID-19 or seek medical care due to co-pay
requirements and fear of isolation.

CDC has issued separate COVID-19 guidance addressing healthcare infection control and clinical care of
COVID-19 cases as well as close contacts of cases in community-based settings. Where relevant, commu-
nity-focused guidance documents are referenced in this document and should be monitored regularly for
updates, but they may require adaptation for correctional and detention settings.

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This guidance document provides additional recommended best practices specifically for correctional and
detention facilities. At this time, different facility types (e.g., prison vs. jail) and sizes are not differ-
entiated. Administrators and agencies should adapt these guiding principles to the specific needs
of their facility.

What topics does this guidance include?

‘The guidance below includes detailed recommendations on the following topics related to COVID-19 in correc-
tional and detention settings:

Operational and communications preparations for COVID-19
Enhanced cleaning/disinfecting and hygiene practices
Social distancing strategies to increase space between individuals in the facility

How to limit transmission from visitors

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Infection control, including recommended personal protective equipment (PPE) and potential alternatives
during PPE shortages

Vv Verbal screening and temperature check protocols for incoming incarcerated/detained individuals, staff,
and visitors

V Medical isolation of confirmed and suspected cases and quarantine of contacts, including considerations
for cohorting when individual spaces are limited

V Healthcare evaluation for suspected cases, including testing for COVID-19

V Clinical care for confirmed and suspected cases

¥ Considerations for persons at higher risk of severe disease from COVID-19

Definitions of Commonly Used Terms

Close contact of a COVID-19 case—In the context of COVID-19, an individual is considered a close contact
if they a) have been within approximately 6 feet of a COVID-19 case fora prolonged period of time or b)

have had direct contact with infectious secretions from a COVID-19 case (e.g., have been coughed on), Close
contact can occur while caring for, living with, visiting, or sharing a common space with a COVID-19 case.
Data to inform the definition of close contact are limited. Considerations when assessing close contact include
the duration of exposure (e.g., longer exposure time likely increases exposure risk) and the clinical symptoms
of the person with COVID-19 (e.g., coughing likely increases exposure risk, as does exposure to a severely ill
patient).

Cohorting—Cohorting refers to the practice of isolating multiple laboratory-confirmed COVID-19 cases
together as a group, or quarantining close contacts of a particular case together as a group. Ideally, cases
should be isolated individually, and close contacts should be quarantined individually. However, some
correctional facilities and detention centers do not have enough individual cells to do so and must consider
cohorting as an alternative. See Quarantine and Medical Isolation sections below for specific details about
ways to implement cohorting to minimize the risk of disease spread and adverse health outcomes.

Community transmission of COVID-19—Community transmission of COVID-19 occurs when individuals
acquire the disease through contact with someone in their local community, rather than through travel to an
affected location. Once community transmission is identified in a particular area, correctional facilities and
detention centers are more likely to start seeing cases inside their walls. Facilities should consult with local
public health departments if assistance is needed in determining how to define “local community” in the
context of COVID-19 spread. However, because all states have reported cases, all facilities should be vigilant
for introduction into their populations.
Confirmed vs. Suspected COVID-19 case—A confirmed case has received a positive result from a COVID-19
laboratory test, with or without symptoms. A suspected case shows symptoms of COVID-19 but either has not
been tested or is awaiting test results. If test results are positive, a suspected case becomes a confirmed case.

Incarcerated/detained persons—For the purpose of this document, “incarcerated/detained persons”
refers to persons held in a prison, jail, detention center, or other custodial setting where these guidelines are
generally applicable. The term includes those who have been sentenced (i.e., in prisons) as well as those held
for pre-trial (i.e., jails) or civil purposes (i.e, detention centers). Although this guidance does not specifically
reference individuals in every type of custodial setting (e.g., juvenile facilities, community confinement facil-
ities), facility administrators can adapt this guidance to apply to their specific circumstances as needed,

Medical Isolation—Medical isolation refers to confining a confirmed or suspected COVID-19 case (ideally
to a single cell with solid walls and a solid door that closes), to prevent contact with others and to reduce the
risk of transmission. Medical isolation ends when the individual meets pre-established clinical and/or testing
criteria for release from isolation, in consultation with clinical providers and public health officials (detailed
in guidance below). In this context, isolation does NOT refer to punitive isolation for behavioral infractions
within the custodial setting. Staff are encouraged to use the term “medical isolation” to avoid confusion.

Quarantine—Quarantine refers to the practice of confining individuals who have had close contact with

a COVID-19 case to determine whether they develop symptoms of the disease. Quarantine for COVID-19
should last for a period of 14 days. Ideally, each quarantined individual would be quarantined in a single cell
with solid walls and a solid door that closes. If symptoms develop during the 14-day period, the individual
should be placed under medical isolation and evaluated for COVID-19. If symptoms do not develop,
movement restrictions can be lifted, and the individual can return to their previous residency status within

the facility.

Social Distancing—Social distancing is the practice of increasing the space between individuals and
decreasing the frequency of contact to reduce the risk of spreading a disease (ideally to maintain at least 6 feet
between all individuals, even those who are asymptomatic). Social distancing strategies can be applied on an
individual level (e.g., avoiding physical contact), a group level (e. g., canceling group activities where individuals
will be in close contact), and an operational level (e.g., rearranging chairs in the dining hall to increase
distance between them), Although social distancing is challenging to practice in correctional and detention
environments, it is a cornerstone of reducing transmission of respiratory diseases such as COVID-19.
Additional information about social distancing, including information on its use to reduce the spread of other
viral illnesses, is available in this CDC publication.

Staff—In this document, “staff” refers to all public sector employees as well as those working for a private
contractor within a correctional facility (e.g., private healthcare or food service). Except where noted, “staff”
does not distinguish between healthcare, custody, and other types of staff including private facility operators.

Symptoms—Symptoms of COVID-19 include fever, cough, and shortness of breath. Like other respiratory
infections, COVID-19 can vary in severity from mild to severe. When severe, pneumonia, respiratory failure,
and death are possible. COVID-19 is a novel disease, therefore the full range of signs and symptoms, the
clinical course of the disease, and the individuals and populations most at risk for disease and complications
are not yet fully understood. Monitor the CDC website for updates on these topics.

Facilities with Limited Onsite Healthcare Services

Although many large facilities such as prisons and some jails usually employ onsite healthcare staff and have
the capacity to evaluate incarcerated/detained persons for potential illness within a dedicated healthcare
space, many smaller facilities do not. Some of these facilities have access to on-call healthcare staff or
providers who visit the facility every few days. Others have neither onsite healthcare capacity nor onsite
medical isolation/quarantine space and must transfer ill patients to other correctional or detention facilities
or local hospitals for evaluation and care.
The majority of the guidance below is designed to be applied to any correctional or detention facility, either
as written or with modifications based on a facility’s individual structure and resources. However, topics
related to healthcare evaluation and clinical care of confirmed and suspected COVID-19 cases and their close
contacts may not apply directly to facilities with limited or no onsite healthcare services. It will be especially
important for these types of facilities to coordinate closely with their state, local, tribal, and/or territorial
health department when they encounter confirmed or suspected cases among incarcerated/detained persons
or staff, in order to ensure effective medical isolation and quarantine, necessary medical evaluation and care,
and medical transfer if needed. The guidance makes note of strategies tailored to facilities without onsite
healthcare where possible.

Note that all staff in any sized facility, regardless of the presence of onsite healthcare services, should observe
guidance on recommended PPE in order to ensure their own safety when interacting with confirmed and
suspected COVID-19 cases. Facilities should make contingency plans for the likely event of PPE shortages
during the COVID-19 pandemic.

COVID-19 Guidance for Correctional Facilities

Guidance for correctional and detention facilities is organized into 3 sections: Operational Preparedness,
Prevention, and Management of COVID-19. Recommendations across these sections can be applied simulta-
neously based on the progress of the outbreak in a particular facility and the surrounding community.

* Operational Preparedness. This guidance is intended to help facilities prepare for potential COVID-19
transmission in the facility. Strategies focus on operational and communications planning and personnel
practices.

- Prevention. This guidance is intended to help facilities prevent spread of COVID-19 from outside the
facility to inside. Strategies focus on reinforcing hygiene practices, intensifying cleaning and disinfection
of the facility, screening (new intakes, visitors, and staff), continued communication with incarcerated/
detained persons and staff, and social distancing measures (increasing distance between individuals).

» Management. This guidance is intended to help facilities clinically manage confirmed and suspected
COVID-19 cases inside the facility and prevent further transmission. Strategies include medical isolation
and care of incarcerated/detained persons with symptoms (including considerations for cohorting),
quarantine of cases’ close contacts, restricting movement in and out of the facility, infection control
practices for individuals interacting with cases and quarantined contacts or contaminated items, intensified
social distancing, and cleaning and disinfecting areas visited by cases.

Operational Preparedness

Administrators can plan and prepare for COVID-19 by ensuring that all persons in the facility know the
symptoms of COVID-19 and how to respond if they develop symptoms. Other essential actions include
developing contingency plans for reduced workforces due to absences, coordinating with public health and
correctional partners, and communicating clearly with staff and incarcerated/detained persons about these
preparations and how they may temporarily alter daily life.

Communication & Coordination

V Develop information-sharing systems with partners.

0 Identify points of contact in relevant state, local, tribal, and/or territorial public health departments
before cases develop. Actively engage with the health department to understand in advance which

entity has jurisdiction to implement public health control measures for COVID-19 in a particular
correctional or detention facility.

0 Create and test communications plans to disseminate critical information to incarcerated/detained
persons, staff, contractors, vendors, and visitors as the pandemic progresses,
© Communicate with other correctional facilities in the same geographic area to share information
including disease surveillance and absenteeism patterns among staff.

o Where possible, put plans in place with other jurisdictions to prevent confirmed and suspected
COVID-19 cases and their close contacts from being transferred between jurisdictions and facilities

unless necessary for medical evaluation, medical isolation/ quarantine, clinical care, extenuating
security concerns, or to prevent overcrowding.

0 Stay informed about updates to CDC guidance via the CDC COVID-19 website as more information
becomes known.

Vv Review existing pandemic flu, all-hazards, and disaster plans, and revise for COVID-19.

o Ensure that physical locations (dedicated housing areas and bathrooms) have been identified
to isolate confirmed COVID-19 cases and individuals displaying COVID-19 symptoms, and to
quarantine known close contacts of cases. (Medical isolation and quarantine locations should be
separate). The plan should include contingencies for multiple locations if numerous cases and/
or contacts are identified and require medical isolation or quarantine simultaneously. See Medical
Isolation and Quarantine sections below for details regarding individual medical isolation and
quarantine locations (preferred) vs. cohorting.

© Facilities without onsite healthcare capacity should make a plan for how they will ensure that

suspected COVID-19 cases will be isolated, evaluated, tested (if indicated), and provided necessary
medical care.

0 Make a list of possible social distancing strategies that could be implemented as needed at different
stages of transmission intensity.

0 Designate officials who will be authorized to make decisions about escalating or de-escalating
response efforts as the epidemiologic context changes.

V¥ Coordinate with local law enforcement and court officials.

0 Identify lawful alternatives to in-person court appearances, such as virtual court, as a social
distancing measure to reduce the risk of COVID-19 transmission.

© Explore strategies to prevent over-crowding of correctional and detention facilities during a
community outbreak.

V Post signage throughout the facility communicating the following:
0 For all: symptoms of COVID-19 and hand hygiene instructions
0 For incarcerated/detained persons: report symptoms to staff

© For staff: stay at home when sick; if symptoms develop while on duty, leave the facility as soon
as possible and follow CDC-recommended steps for persons who are ill with COVID-19 symptoms
including self-isolating at home, contacting their healthcare provider as soon as possible to
determine whether they need to be evaluated and tested, and contacting their supervisor.

o Ensure that signage is understandable for non-English speaking persons and those with low literacy,
and make necessary accommodations for those with cognitive or intellectual disabilities and those
who are deaf, blind, or low-vision.

Personnel Practices
V_ Review the sick leave policies of each employer that operates in the facility.
0 Review policies to ensure that they actively encourage staff to stay home when sick.
© If these policies do not encourage staff to stay home when sick, discuss with the contract company.

0 Determine which officials will have the authority to send symptomatic staff home,
V Identify staff whose duties would allow them to work from home. Where possible, allowing
staff to work from home can be an effective social distancing strategy to reduce the risk of
COVID-19 transmission.

0 Discuss work from home options with these staff and determine whether they have the supplies and
technological equipment required to do so.

0 Put systems in place to implement work from home programs (e.g., time tracking, etc.).

V_ Plan for staff absences. Staff should stay home when they are sick, or they may need to stay home to
care for a sick household member or care for children in the event of school and childcare dismissals.

0 Allow staff to work from home when possible, within the scope of their duties.
© Identify critical job functions and plan for alternative coverage by cross-training staff where possible.

© Determine minimum levels of staff in all categories required for the facility to function safely. If
possible, develop a plan to secure additional staff if absenteeism due to COVID-19 threatens to bring
staffing to minimum levels.

© Consider increasing keep on person (KOP) medication orders to cover 30 days in case of healthcare
staff shortages.

VY Consider offering revised duties to staff who are at higher risk of severe illness with COVID-19.
Persons at higher risk may include older adults and persons of any age with serious underlying medical
conditions including lung disease, heart disease, and diabetes. See CDC’s website for a complete list, and
check regularly for updates as more data become available to inform this issue.

0 Facility administrators should consult with their occupational health providers to determine whether
it would be allowable to reassign duties for specific staff members to reduce their likelihood of
exposure to COVID-19.

V Offer the seasonal influenza vaccine to all incarcerated/detained persons (existing population
and new intakes) and staff throughout the influenza season. Symptoms of COVID-19 are similar to

those of influenza. Preventing influenza cases in a facility can speed the detection of COVID-19 cases and
reduce pressure on healthcare resources.

Vv Review CDC’s guidance for businesses and employers to identify any additional strategies the facility can
use within its role as an employer.
Operations & Supplies

V Ensure that sufficient stocks of hygiene supplies, cleaning supplies, PPE, and medical supplies
(consistent with the healthcare capabilities of the facility) are on hand and available , and have
a plan in place to restock as needed if COVID-19 transmission occurs within the facility.

© Standard medical supplies for daily clinic needs

© Tissues

© Liquid soap when possible. If bar soap must be used, ensure that it does not irritate the skin and
thereby discourage frequent hand washing.

o Hand drying supplies

0 Alcohol-based hand sanitizer containing at least 60% alcohol (where permissible based on security
restrictions)

o Cleaning supplies, including EPA-registered disinfectants effective against the virus that causes
COVID-19
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o Recommended PPE (facemasks, N95 respirators, eye protection, disposable medical gloves, and
disposable gowns/one-piece coveralls). See PPE section and Table 1 for more detailed information,
including recommendations for extending the life of all PPE categories in the event of shortages, and
when face masks are acceptable alternatives to N95s.

© Sterile viral transport media and sterile swabs to collect nasopharyngeal specimens if COVID-19
testing is indicated

Vv Make contingency plans for the probable event of PPE shortages during the COVID-19
pandemic, particularly for non-healthcare workers.

o See CDC guidance optimizing PPE supplies.

V Consider relaxing restrictions on allowing alcohol-based hand sanitizer in the secure setting
where security concerns allow. If soap and water are not available, CDC recommends cleaning hands
with an alcohol-based hand sanitizer that contains at least 60% alcohol. Consider allowing staff to carry
individual-sized bottles for their personal hand hygiene while on duty.

Vv Provide a no-cost supply of soap to incarcerated/detained persons, sufficient to allow frequent
hand washing. (See Hygiene section below for additional detail regarding recommended frequency and
protocol for hand washing.)

0 Provide liquid soap where possible. If bar soap must be used, ensure that it does not irritate the skin
and thereby discourage frequent hand washing.

V If not already in place, employers operating within the facility should establish a respiratory
protection program as appropriate, to ensure that staff and incarcerated/detained persons

are fit tested for any respiratory protection they will need within the scope of their
responsibilities.

V Ensure that staff and incarcerated/detained persons are trained to correctly don, doff, and
dispose of PPE that they will need to use within the scope of their responsibilities. See Table 1
for recommended PPE for incarcerated/detained persons and staff with varying levels of contact with
COVID-19 cases or their close contacts.

Prevention

Cases of COVID-19 have been documented in all 50 US states. Correctional and detention facilities can
prevent introduction of COVID-19 from the community and reduce transmission if it is already inside by
reinforcing good hygiene practices among incarcerated/detained persons, staff, and visitors (including
increasing access to soap and paper towels), intensifying cleaning/disinfection practices, and implementing
social distancing strategies.

Because many individuals infected with COVID-19 do not display symptoms, the virus could be present
in facilities before cases are identified. Both good hygiene practices and social distancing are critical in
preventing further transmission.
Operations
¥ Stay in communication with partners about your facility’s current situation.

© State, local, territorial, and/or tribal health departments

o Other correctional facilities

¥ Communicate with the public about any changes to facility operations, including visitation
programs.
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Restrict transfers of incarcerated/detained persons to and from other jurisdictions and
facilities unless necessary for medical evaluation, medical isolation/ quarantine, clinical care,
extenuating security concerns, or to prevent overcrowding.

o Strongly consider postponing non-urgent outside medical visits.

o Ifa transfer is absolutely necessary, perform verbal screening and a temperature check as outlined in
the screening process, delay the transfer and follow the protocol for a suspected COVID-19 case—
including putting a face mask on the individual, immediately placing them under medical isolation,
and evaluating them for possible COVID-19 testing. If the transfer must still occur, ensure that
the receiving facility has capacity to properly isolate the individual upon arrival. Ensure that staff
transporting the individual wear recommended PPE (see Table 1) and that the transport vehicle is
cleaned thoroughly after transport.

Implement lawful alternatives to in-person court appearances where permissible.

Where relevant, consider suspending co-pays for incarcerated/detained persons seeking
medical evaluation for respiratory symptoms.

Limit the number of operational entrances and exits to the facility.

Cleaning and Disinfecting Practices

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Even if COVID-19 cases have not yet been identified inside the facility or in the surrounding
community, begin implementing intensified cleaning and disinfecting procedures according to
the recommendations below. These measures may prevent spread of COVID-19 if introduced.

Adhere to CDC recommendations for cleaning and disinfection during the COVID-19 response, Monitor
these recommendations for updates.

© Several times per day, clean and disinfect surfaces and objects that are frequently touched, especially
in common areas. Such surfaces may include objects/surfaces not ordinarily cleaned daily (e.g.,
doorknobs, light switches, sink handles, countertops, toilets, toilet handles, recreation equipment,
kiosks, and telephones).

© Staff should clean shared equipment several times per day and on a conclusion of use basis (e.g.,
radios, service weapons, keys, handcuffs).

0 Use household cleaners and EPA-registered disinfectants effective against the virus that causes
COVID-19 as appropriate for the surface, following label instructions. This may require lifting
restrictions on undiluted disinfectants.

0 Labels contain instructions for safe and effective use of the cleaning product, including precautions
that should be taken when applying the product, such as wearing gloves and making sure there is
good ventilation during use.

Consider increasing the number of staff and/or incarcerated/detained persons trained and
responsible for cleaning common areas to ensure continual cleaning of these areas throughout
the day.

Ensure adequate supplies to support intensified cleaning and disinfection practices, and havea
plan in place to restock rapidly if needed.
Hygiene

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Reinforce healthy hygiene practices, and provide and continually restock hygiene supplies
throughout the facility, including in bathrooms, food preparation and dining areas, intake
areas, visitor entries and exits, visitation rooms and waiting rooms, common areas, medical,
and staff-restricted areas (e.g., break rooms).

Encourage all persons in the facility to take the following actions to protect themselves and
others from COVID-19. Post signage throughout the facility, and communicate this information
verbally on a regular basis. Sample signage and other communications materials are available on

the CDC website. Ensure that materials can be understood by non-English speakers and those with low
literacy, and make necessary accommodations for those with cognitive or intellectual disabilities and those
who are deaf, blind, or low-vision.

0 Practice good cough etiquette: Cover your mouth and nose with your elbow (or ideally with a
tissue) rather than with your hand when you cough or sneeze, and throw all tissues in the trash
immediately after use.

oO Practice good hand hygiene: Regularly wash your hands with soap and water for at least 20
seconds, especially after coughing, sneezing, or blowing your nose; after using the bathroom; before
eating or preparing food; before taking medication; and after touching garbage.

0 Avoid touching your eyes, nose, or mouth without cleaning your hands first.
0 Avoid sharing eating utensils, dishes, and cups.

0 Avoid non-essential physical contact.

Provide incarcerated/detained persons and staff no-cost access to:

0 Soap—Provide liquid soap where possible. If bar soap must be used, ensure that it does not irritate
the skin, as this would discourage frequent hand washing.

© Running water, and hand drying machines or disposable paper towels for hand washing

© Tissues and no-touch trash receptacles for disposal

Provide alcohol-based hand sanitizer with at least 60% alcohol where permissible based on
security restrictions. Consider allowing staff to carry individual-sized bottles to maintain hand hygiene.

Communicate that sharing drugs and drug preparation equipment can spread COVID-19 due to
potential contamination of shared items and close contact between individuals.

Prevention Practices for Incarcerated/Detained Persons

V Perform pre-intake screening and temperature checks for all new entrants. Screening

should take place in the sallyport, before beginning the intake process, in order to identify and
immediately place individuals with symptoms under medical isolation. See Screening section below for
the wording of screening questions and a recommended procedure to safely perform a temperature check.
Staff performing temperature checks should wear recommended PPE (see PPE section below).

0 If an individual has symptoms of COVID-19 (fever, cough, shortness of breath):
» Require the individual to wear a face mask.
= Ensure that staff who have direct contact with the symptomatic individual wear recommended PPE.

* Place the individual under medical isolation (ideally in a room near the screening location,
rather than transporting the ill individual through the facility), and refer to healthcare staff for

" Facilities without onsite healthcare staff should contact their state, local, tribal, and/or territorial
health department to coordinate effective medical isolation and necessary medical care.

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0 If an individual is a close contact of a known COVID-19 case (but has no COVID-19
symptoms):
* Quarantine the individual and monitor for symptoms two times per day for 14 days. (See

Quarantine section below.)

* Facilities without onsite healthcare staff should contact their state, local, tribal, and/or
territorial health department to coordinate effective quarantine and necessary medical care.

¥ Implement social distancing strategies to increase the physical space between incarcerated/
detained persons (ideally 6 feet between all individuals, regardless of the presence of
symptoms). Strategies will need to be tailored to the individual space in the facility and the needs of the
population and staff. Not all strategies will be feasible in all facilities. Example strategies with varying
levels of intensity include:

o Common areas:

= Enforce increased space between individuals in holding cells, as well as in lines and waiting areas
such as intake (e.g., remove every other chair in a waiting area)

o Recreation:

* Choose recreation spaces where individuals can spread out

" Stagger time in recreation spaces

* Restrict recreation space usage to a single housing unit per space (where feasible)
oO Meals:

" Stagger meals

" Rearrange seating in the dining hall so that there is more space between individuals (e.g,
remove every other chair and use only one side of the table)

" Provide meals inside housing units or cells
oO Group activities:
* Limit the size of group activities
* Increase space between individuals during group activities

* Suspend group programs where participants are likely to be in closer contact than they are in
their housing environment

* Consider alternatives to existing group activities, in outdoor areas or other areas where
individuals can spread out

oO Housing:

* If space allows, reassign bunks to provide more space between individuals, ideally 6 feet or more
in all directions. (Ensure that bunks are cleaned thoroughly if assigned to a new occupant.)

* Arrange bunks so that individuals sleep head to foot to increase the distance between them
* Rearrange scheduled movements to minimize mixing of individuals from different housing areas

oO Medical:

= If possible, designate a room near each housing unit to evaluate individuals with COVID-19
symptoms, rather than having them walk through the facility to be evaluated in the medical
unit. If this is not feasible, consider staggering sick call.

« Designate a room near the intake area to evaluate new entrants who are flagged by the intake
screening process for COVID-19 symptoms or case contact, before they move to other parts of
the facility.

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Communicate clearly and frequently with incarcerated/detained persons about changes to their
daily routine and how they can contribute to risk reduction.

Note that if group activities are discontinued, it will be important to identify alternative forms
of activity to support the mental health of incarcerated/detained persons.

Consider suspending work release programs and other programs that involve movement of
incarcerated/detained individuals in and out of the facility.

Provide up-to-date information about COVID-19 to incarcerated/detained persons on a regular
basis, including:

o Symptoms of COVID-19 and its health risks
o Reminders to report COVID-19 symptoms to staff at the first sign of illness

Consider having healthcare staff perform rounds on a regular basis to answer questions about
COVID-19.

Prevention Practices for Staff

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Remind staff to stay at home if they are sick. Ensure that staff are aware that they will not be able to
enter the facility if they have symptoms of COVID-19, and that they will be expected to leave the facility as
soon as possible if they develop symptoms while on duty.

Perform verbal screening (for COVID-19 symptoms and close contact with cases) and
temperature checks for all staff daily on entry. See Screening section below for wording of screening

questions and a recommended procedure to safely perform temperature checks.

0 In very small facilities with only a few staff, consider self-monitoring or virtual monitoring (e.g.,
reporting to a central authority via phone).

© Send staff home who do not clear the screening process, and advise them to follow CDC-
recommended steps for persons who are ill with COVID-19 symptoms.

Provide staff with up-to-date information about COVID-19 and about facility policies ona
regular basis, including:

© Symptoms of COVID-19 and its health risks
o Employers’ sick leave policy

o If staff develop a fever, cough, or shortness of breath while at work: immediately put ona
face mask, inform supervisor, leave the facility, and follow CDC-recommended steps for persons who
are ill with COVID-19 symptoms.

o If staff test positive for COVID-19: inform workplace and personal contacts immediately, and
do not return to work until a decision to discontinue home medical isolation precautions is made.

0 Ifa staff member is identified as a close contact of a COVID-19 case (either within
the facility or in the community): self-quarantine at home for 14 days and return to work if

symptoms do not develop. If symptoms do develop, follow CDC-recommended steps for persons who
are ill with COVID-19 symptoms.

If a staff member has a confirmed COVID-19 infection, the relevant employers should inform
other staff about their possible exposure to COVID-19 in the workplace, but should maintain
confidentiality as required by the Americans with Disabilities Act.

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V When feasible and consistent with security priorities, encourage staff to maintain a distance of
6 feet or more from an individual with respiratory symptoms while interviewing, escorting, or
interacting in other ways.

Vv Ask staff to keep interactions with individuals with respiratory symptoms as brief as possible.

Prevention Practices for Visitors

V_ If possible, communicate with potential visitors to discourage contact visits in the interest of
their own health and the health of their family members and friends inside the facility.

v_ Perform verbal screening (for COVID-19 symptoms and close contact with cases) and
temperature checks for all visitors and volunteers on entry. See Screening section below for
wording of screening questions and a recommended procedure to safely perform temperature checks.

0 Exclude visitors and volunteers who do not clear the screening process or who decline screening.

Vv Provide alcohol-based hand sanitizer with at least 60% alcohol in visitor entrances, exits, and
waiting areas.

V_ Provide visitors and volunteers with information to prepare them for screening.
o Instruct visitors to postpone their visit if they have symptoms of respiratory illness.

© If possible, inform potential visitors and volunteers before they travel to the facility that they should
expect to be screened for COVID-19 (including a temperature check), and will be unable to enter the
facility if they do not clear the screening process or if they decline screening.

0 Display signage outside visiting areas explaining the COVID-19 screening and temperature check
process. Ensure that materials are understandable for non-English speakers and those with low
literacy.

Vv Promote non-contact visits:

o Encourage incarcerated/detained persons to limit contact visits in the interest of their own health
and the health of their visitors.

© Consider reducing or temporarily eliminating the cost of phone calls for incarcerated/detained
persons.

© Consider increasing incarcerated/detained persons’ telephone privileges to promote mental health
and reduce exposure from direct contact with community visitors.

V Consider suspending or modifying visitation programs, if legally permissible. For example,
provide access to virtual visitation options where available.

o If moving to virtual visitation, clean electronic surfaces regularly, (See Cleaning guidance below for
instructions on cleaning electronic surfaces.)

© Inform potential visitors of changes to, or suspension of, visitation programs.

© Clearly communicate any visitation program changes to incarcerated/detained persons, along with

the reasons for them (including protecting their health and their family and community members’
health).

0 If suspending contact visits, provide alternate means (e.g., phone or video visitation) for
incarcerated/detained individuals to engage with legal representatives, clergy, and other individuals
with whom they have legal right to consult.

NOTE: Suspending visitation would be done in the interest of incarcerated/detained persons’ physical
health and the health of the general public. However, visitation is important to maintain mental health.

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If visitation is suspended, facilities should explore alternative ways for incarcerated/detained persons to
communicate with their families, friends, and other visitors in a way that is not financially burdensome
for them. See above suggestions for promoting non-contact visits.

Restrict non-essential vendors, volunteers, and tours from entering the facility.

Management

If there has been a suspected COVID-19 case inside the facility (among incarcerated/detained persons, staff,
or visitors who have recently been inside), begin implementing Management strategies while test results
are pending. Essential Management strategies include placing cases and individuals with symptoms under
medical isolation, quarantining their close contacts, and facilitating necessary medical care, while observing
relevant infection control and environmental disinfection protocols and wearing recommended PPE.

Operations

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Implement alternate work arrangements deemed feasible in the Operational Preparedness section.

Suspend all transfers of incarcerated/detained persons to and from other jurisdictions and
facilities (including work release where relevant), unless necessary for medical evaluation,
medical isolation/quarantine, care, extenuating security concerns, or to prevent overcrowding.

0 Ifa transfer is absolutely necessary, perform verbal screening and a temperature check as outlined in
the Screening section below, before the individual leaves the facility. If an individual does not clear
the screening process, delay the transfer and follow the protocol for a suspected COVID-19 case—
including putting a face mask on the individual, immediately placing them under medical isolation,
and evaluating them for possible COVID-19 testing. If the transfer must still occur, ensure that the
receiving facility has capacity to appropriately isolate the individual upon arrival. Ensure that staff
transporting the individual wear recommended PPE (see Table 1) and that the transport vehicle is
cleaned thoroughly after transport.

If possible, consider quarantining all new intakes for 14 days before they enter the facility’s
general population (SEPARATELY from other individuals who are quarantined due to contact
with a COVID-19 case). Subsequently in this document, this practice is referred to as routine intake
quarantine.

When possible, arrange lawful alternatives to in-person court appearances.

Incorporate screening for COVID-19 symptoms and a temperature check into release planning.

© Screen all releasing individuals for COVID-19 symptoms and perform a temperature check. (See

* If an individual does not clear the screening process, follow the protocol for a suspected
COVID-19 case—including putting a face mask on the individual, immediately placing them
under medical isolation, and evaluating them for possible COVID-19 testing.

" If the individual is released before the recommended medical isolation period is complete,
discuss release of the individual with state, local, tribal, and/or territorial health departments
to ensure safe medical transport and continued shelter and medical care, as part of release

planning. Make direct linkages to community resources to ensure proper medical isolation and
access to medical care.

* Before releasing an incarcerated/detained individual with COVID-19 symptoms to a community-
based facility, such as a homeless shelter, contact the facility’s staff to ensure adequate time for
them to prepare to continue medical isolation, or contact local public health to explore alternate
housing options.

14
Vv Coordinate with state, local, tribal, and/or territorial health departments.

0 When a COVID-19 case is suspected, work with public health to determine action. See Medical

0 When a COVID-19 case is suspected or confirmed, work with public health to identify close contacts
who should be placed under quarantine. See Quarantine section below.

o Facilities with limited onsite medical isolation, quarantine, and/or healthcare services should
coordinate closely with state, local, tribal, and/or territorial health departments when they
encounter a confirmed or suspected case, in order to ensure effective medical isolation or quarantine,
necessary medical evaluation and care, and medical transfer if needed. See Facilities with Limited
Onsite Healthcare Services section.

Hygiene
V Continue to ensure that hand hygiene supplies are well-stocked in all areas of the facility.
(See above.)

V Continue to emphasize practicing good hand hygiene and cough etiquette. (See above.)

Cleaning and Disinfecting Practices

¥ Continue adhering to recommended cleaning and disinfection procedures for the facility at
large. (See above.)

Vv Reference specific cleaning and disinfection procedures for areas where a COVID-19 case has
spent time (below).

Medical Isolation of Confirmed or Suspected COVID-19 Cases

NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity.
are Services, or without sufficient space to implement
effective medical isolation, should coordinate with local public health officials to ensure that
COVID-19 cases will be appropriately isolated, evaluated, tested (if indicated), and given care.

VAs soon as an individual develops symptoms of COVID-19, they should wear a face mask (if it
does not restrict breathing) and should be immediately placed under medical isolation in a
separate environment from other individuals.

Vv Keep the individual’s movement outside the medical isolation space to an absolute minimum.

0 Provide medical care to cases inside the medical isolation space. See Infection Control and Clinical
Care sections for additional details.

© Serve meals to cases inside the medical isolation space.
© Exclude the individual from all group activities.
0 Assign the isolated individual a dedicated bathroom when possible.
Vv Ensure that the individual is wearing a face mask at all times when outside of the medical

isolation space, and whenever another individual enters. Provide clean masks as needed. Masks
should be changed at least daily, and when visibly soiled or wet.

V_ Facilities should make every possible effort to place suspected and confirmed COVID-19 cases
under medical isolation individually. Each isolated individual should be assigned their own
housing space and bathroom where possible. Cohorting should only be practiced if there are no other
available options.

5
0 If cohorting is necessary:

* Only individuals who are laboratory confirmed COVID-19 cases should be placed under
medical isolation as a cohort. Do not cohort confirmed cases with suspected cases or
case contacts.

* Unless no other options exist, do not house COVID-19 cases with individuals who have an
undiagnosed respiratory infection.

* Ensure that cohorted cases wear face masks at all times.
Vv In order of preference, individuals under medical isolation should be housed:
© Separately, in single cells with solid walls (i.e., not bars) and solid doors that close fully
0 Separately, in single cells with solid walls but without solid doors

o Asa cohort, ina large, well-ventilated cell with solid walls and a solid door that closes fully. Employ

o Asa cohort, ina large, well-ventilated cell with solid walls but without a solid door. Employ social
distancing strategies related to housing in the Prevention section above.

o Asa cohort, in single cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
preferably with an empty cell between occupied cells. (Although individuals are in single cells in

this scenario, the airflow between cells essentially makes it a cohort arrangement in the context of
COVID-19.)

0 Asa cohort, in multi-person cells without solid walls or solid doors (i.e., cells enclosed entirely with
bars), preferably with an empty cell between occupied cells. Employ social distancing strategies
related to housing in the Prevention section above.

© Safely transfer individual(s) to another facility with available medical isolation capacity in one of the
above arrangements
(NOTE—Transfer should be avoided due to the potential to introduce infection to another facility;
proceed only if no other options are available.)

If the ideal choice does not exist in a facility, use the next best alternative.

Vv Ifthe number of confirmed cases exceeds the number of individual medical isolation spaces
available in the facility, be especially mindful of cases who are at higher risk of severe illness
from COVID-19. Ideally, they should not be cohorted with other infected individuals. If cohorting is
unavoidable, make all possible accommodations to prevent transmission of other infectious diseases to
the higher-risk individual. (For example, allocate more space for a higher-risk individual within a shared
medical isolation space.)

0 Persons at higher risk may include older adults and persons of any age with serious underlying
medical conditions such as lung disease, heart disease, and diabetes. See CDC’s website fora
complete list, and check regularly for updates as more data become available to inform this issue.

© Note that incarcerated/detained populations have higher prevalence of infectious and chronic
diseases and are in poorer health than the general population, even at younger ages.

V Custody staff should be designated to monitor these individuals exclusively where possible.
These staff should wear recommended PPE as appropriate for their level of contact with the individual
under medical isolation (see PPE section below) and should limit their own movement between different
parts of the facility to the extent possible.

V Minimize transfer of COVID-19 cases between spaces within the healthcare unit.

16
Vv Provide individuals under medical isolation with tissues and, if permissible, a lined no-touch
trash receptacle. Instruct them to:

0 Cover their mouth and nose with a tissue when they cough or sneeze
© Dispose of used tissues immediately in the lined trash receptacle

0 Wash hands immediately with soap and water for at least 20 seconds. If soap and water are not
available, clean hands with an alcohol-based hand sanitizer that contains at least 60% alcohol (where
security concerns permit). Ensure that hand washing supplies are continually restocked.

Vv Maintain medical isolation until all the following criteria have been met. Monitor the CDC
website for updates to these criteria.

For individuals who will be tested to determine if they are still contagious:

* ‘The individual has been free from fever for at least 72 hours without the use of fever-reducing
medications AND

* The individual's other symptoms have improved (e.g., cough, shortness of breath) AND

* The individual has tested negative in at least two consecutive respiratory specimens collected at
least 24 hours apart

For individuals who will NOT be tested to determine if they are still contagious:

* ‘The individual has been free from fever for at least 72 hours without the use of fever-reducing
medications AND

* ‘The individual's other symptoms have improved (e.g., cough, shortness of breath) AND
* At least 7 days have passed since the first symptoms appeared

For individuals who had a confirmed positive COVID-19 test but never showed symptoms:
o Atleast 7 days have passed since the date of the individual’s first positive COVID-19 test AND
0 ‘The individual has had no subsequent illness

v_ Restrict cases from leaving the facility while under medical isolation precautions, unless
released from custody or if a transfer is necessary for medical care, infection control, lack of
medical isolation space, or extenuating security concerns.

© Ifan incarcerated/detained individual who is a COVID-19 case is released from custody during their
medical isolation period, contact public health to arrange for safe transport and continuation of
necessary medical care and medical isolation as part of release planning.

Cleaning Spaces where COVID-19 Cases Spent Time

Thoroughly clean and disinfect all areas where the confirmed or suspected COVID-19 case spent
time. Note—these protocols apply to suspected cases as well as confirmed cases, to ensure
adequate disinfection in the event that the suspected case does, in fact, have COVID-19. Refer to
the Definitions section for the distinction between confirmed and suspected cases.

© Close off areas used by the infected individual. If possible, open outside doors and windows to
increase air circulation in the area. Wait as long as practical, up to 24 hours under the poorest air

o Clean and disinfect all areas (e.g., cells, bathrooms, and common areas) used by the infected
individual, focusing especially on frequently touched surfaces (see list above in Prevention section).

7
Vv Hard (non-porous) surface cleaning and disinfection
0 If surfaces are dirty, they should be cleaned using a detergent or soap and water prior to disinfection.

o For disinfection, most common EPA-registered household disinfectants should be effective. Choose
cleaning products based on security requirements within the facility.

* Consult a list of products that are EPA-approved for use against the virus that causes COVID-19.

Follow the manufacturer's instructions for all cleaning and disinfection products (e.g.,
concentration, application method and contact time, etc.).

= Diluted household bleach solutions can be used if appropriate for the surface. Follow the
manufacturer's instructions for application and proper ventilation, and check to ensure the
product is not past its expiration date. Never mix household bleach with ammonia or any other
cleanser. Unexpired household bleach will be effective against coronaviruses when properly
diluted. Prepare a bleach solution by mixing:

5 tablespoons (1/3rd cup) bleach per gallon of water or
- 4 teaspoons bleach per quart of water
Vv Soft (porous) surface cleaning and disinfection

© For soft (porous) surfaces such as carpeted floors and rugs, remove visible contamination if present
and clean with appropriate cleaners indicated for use on these surfaces. After cleaning:

* If the items can be laundered, launder items in accordance with the manufacturer’s instructions
using the warmest appropriate water setting for the items and then dry items completely.

* Otherwise, use products that are EPA-approved for use against the virus that causes COVID-19
and are suitable for porous surfaces.

V Electronics cleaning and disinfection

© For electronics such as tablets, touch screens, keyboards, and remote controls, remove visible
contamination if present.

" Follow the manufacturer’s instructions for all cleaning and disinfection products.
" Consider use of wipeable covers for electronics.

* Ifno manufacturer guidance is available, consider the use of alcohol-based wipes or spray
containing at least 70% alcohol to disinfect touch screens. Dry surfaces thoroughly to avoid
pooling of liquids.

Additional information on cleaning and disinfection of communal facilities such can be found on CDC’s
website.

V Ensure that staff and incarcerated/detained persons performing cleaning wear recommended
PPE. (See PPE section below.)

V Food service items. Cases under medical isolation should throw disposable food service items in the
trash in their medical isolation room. Non-disposable food service items should be handled with gloves
and washed with hot water or in a dishwasher. Individuals handling used food service items should clean
their hands after removing gloves.

Vv Laundry from a COVID-19 cases can be washed with other individuals’ laundry.

0 Individuals handling laundry from COVID-19 cases should wear disposable gloves, discard after each
use, and clean their hands after.

0 Do not shake dirty laundry. This will minimize the possibility of dispersing virus through the air.

© Launder items as appropriate in accordance with the manufacturer’s instructions. If possible,
launder items using the warmest appropriate water setting for the items and dry items completely.

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0 Clean and disinfect clothes hampers according to guidance above for surfaces. If permissible,
consider using a bag liner that is either disposable or can be laundered.

Vv Consult cleaning recommendations above to ensure that transport vehicles are thoroughly cleaned
after carrying a confirmed or suspected COVID-19 case.

Quarantining Close Contacts of COVID-19 Cases

NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity.
Facilities without onsite healthcare capacity, or without sufficient space to implement effective

quarantine, should coordinate with local public health officials to ensure that close contacts of
COVID-19 cases will be effectively quarantined and medically monitored.

V Incarcerated/detained persons who are close contacts of a confirmed or suspected COVID-19 case

(whether the case is another incarcerated/detained person, staff member, or visitor) should be
placed under quarantine for 14 days (see CDC guidelines).

0 Ifan individual is quarantined due to contact with a suspected case who is subsequently tested
for COVID-19 and receives a negative result, the quarantined individual should be released from
quarantine restrictions,

Vv Inthe context of COVID-19, an individual (incarcerated/detained person or staff) is considered
a close contact if they:

0 Have been within approximately 6 feet of a COVID-19 case for a prolonged period of time OR

0 Have had direct contact with infectious secretions of a COVID-19 case (e.g., have been coughed on)

Close contact can occur while caring for, living with, visiting, or sharing a common space with a COVID-19
case. Data to inform the definition of close contact are limited. Considerations when assessing close
contact include the duration of exposure (e.g., longer exposure time likely increases exposure risk) and

the clinical symptoms of the person with COVID-19 (e.g., coughing likely increases exposure risk, as does
exposure to a severely ill patient).

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Keep a quarantined individual’s movement outside the quarantine space to an absolute
minimum.

0 Provide medical evaluation and care inside or near the quarantine space when possible.
0 Serve meals inside the quarantine space.

0 Exclude the quarantined individual from all group activities.

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) Assign the quarantined individual a dedicated bathroom when possible.

v_ Facilities should make every possible effort to quarantine close contacts of COVID-19 cases
individually. Cohorting multiple quarantined close contacts of a COVID-19 case could transmit
COVID-19 from those who are infected to those who are uninfected. Cohorting should only be practiced if
there are no other available options.

© If cohorting of close contacts under quarantine is absolutely necessary, symptoms of all individuals
should be monitored closely, and individuals with symptoms of COVID-19 should be placed under
medical isolation immediately.

© Ifan entire housing unit is under quarantine due to contact with a case from the same housing unit,
the entire housing unit may need to be treated as a cohort and quarantine in place.

0 Some facilities may choose to quarantine all new intakes for 14 days before moving them to the
facility's general population as a general rule (not because they were exposed to a COVID-19 case).
Under this scenario, avoid mixing individuals quarantined due to exposure to a COVID-19 case with
individuals undergoing routine intake quarantine.

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If at all possible, do not add more individuals to an existing quarantine cohort after the 14-day
quarantine clock has started.

V Ifthe number of quarantined individuals exceeds the number of individual quarantine spaces
available in the facility, be especially mindful of those who are at higher risk of severe illness

from COVID-19. Ideally, they should not be cohorted with other quarantined individuals. If cohorting

is unavoidable, make all possible accommodations to reduce exposure risk for the higher-risk individuals.
(For example, intensify social distancing strategies for higher-risk individuals.)

V In order of preference, multiple quarantined individuals should be housed:

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Separately, in single cells with solid walls (i.e., not bars) and solid doors that close fully
Separately, in single cells with solid walls but without solid doors

As a cohort, in a large, well-ventilated cell with solid walls, a solid door that closes fully, and at least 6
feet of personal space assigned to each individual in all directions

As a cohort, in a large, well-ventilated cell with solid walls and at least 6 feet of personal space
assigned to each individual in all directions, but without a solid door

As a cohort, in single cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
preferably with an empty cell between occupied cells creating at least 6 feet of space between
individuals. (Although individuals are in single cells in this scenario, the airflow between cells
essentially makes it a cohort arrangement in the context of COVID-19.)

As a cohort, in multi-person cells without solid walls or solid doors (i.e., cells enclosed entirely with
bars), preferably with an empty cell between occupied cells. Employ social distancing strategies
related to housing in the Prevention section to maintain at least 6 feet of space between individuals
housed in the same cell.

As a cohort, in individuals’ regularly assigned housing unit but with no movement outside the unit

Safely transfer to another facility with capacity to quarantine in one of the above arrangements

(NOTE—Transfer should be avoided due to the potential to introduce infection to another facility;
proceed only if no other options are available.)

V Quarantined individuals should wear face masks if feasible based on local supply, as source
control, under the following circumstances (see PPE section and Table 2):

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If cohorted, quarantined individuals should wear face masks at all times (to prevent transmission
from infected to uninfected individuals).

If quarantined separately, individuals should wear face masks whenever a non-quarantined
individual enters the quarantine space.

All quarantined individuals should wear a face mask if they must leave the quarantine space for any
reason.

Asymptomatic individuals under routine intake quarantine (with no known exposure to a COVID-19
case) do not need to wear face masks.

V Staff who have close contact with quarantined individuals should wear recommended PPE if
feasible based on local supply, feasibility, and safety within the scope of their duties (see PPE
section and Table 1).

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Staff supervising asymptomatic incarcerated/detained persons under routine intake quarantine

(with no known exposure to a COVID-19 case) do not need to wear PPE.

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Quarantined individuals should be monitored for COVID-19 symptoms twice per day, including
temperature checks.

0 Ifan individual develops symptoms, they should be moved to medical isolation immediately and
further evaluated. (See Medical Isolation section above.)

0 See Screening section for a procedure to perform temperature checks safely on asymptomatic close
contacts of COVID-19 cases.

If an individual who is part of a quarantined cohort becomes symptomatic:

o If the individual is tested for COVID-19 and tests positive: the 14-day quarantine clock for the
remainder of the cohort must be reset to 0.

o If the individual is tested for COVID-19 and tests negative: the 14-day quarantine clock for
this individual and the remainder of the cohort does not need to be reset. This individual can return
from medical isolation to the quarantined cohort for the remainder of the quarantine period.

0 If the individual is not tested for COVID-19: the 14-day quarantine clock for the remainder of
the cohort must be reset to 0.

Restrict quarantined individuals from leaving the facility (including transfers to other
facilities) during the 14-day quarantine period, unless released from custody or a transfer is
necessary for medical care, infection control, lack of quarantine space, or extenuating security
concerns.

Quarantined individuals can be released from quarantine restrictions if they have not
developed symptoms during the 14-day quarantine period.

Meals should be provided to quarantined individuals in their quarantine spaces. Individuals
under quarantine should throw disposable food service items in the trash. Non-disposable food service
items should be handled with gloves and washed with hot water or in a dishwasher. Individuals handling
used food service items should clean their hands after removing gloves.

Laundry from quarantined individuals can be washed with other individuals’ laundry.

0 Individuals handling laundry from quarantined persons should wear disposable gloves, discard after
each use, and clean their hands after.

© Do not shake dirty laundry. This will minimize the possibility of dispersing virus through the air.

o Launder items as appropriate in accordance with the manufacturer’s instructions. If possible,
launder items using the warmest appropriate water setting for the items and dry items completely.

o Clean and disinfect clothes hampers according to guidance above for surfaces. If permissible,
consider using a bag liner that is either disposable or can be laundered.

Management of Incarcerated/Detained Persons with COVID-19 Symptoms

NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity.
Facilities without onsite healthcare capacity or without sufficient space for medical isolation
should coordinate with local public health officials to ensure that suspected COVID-19 cases will be
effectively isolated, evaluated, tested (if indicated), and given care.

Vv

If possible, designate a room near each housing unit for healthcare staff to evaluate individuals

with COVID-19 symptoms, rather than having them walk through the facility to be evaluated in
the medical unit.

Incarcerated/detained individuals with COVID-19 symptoms should wear a face mask and
should be placed under medical isolation immediately. Discontinue the use of a face mask if it
inhibits breathing. See Medical Isolation section above.

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Vv Medical staff should evaluate symptomatic individuals to determine whether COVID-19 testing
is indicated. Refer to CDC guidelines for information on evaluation and testing. See Infection Control
and Clinical Care sections below as well.

V If testing is indicated (or if medical staff need clarification on when testing is indicated),
contact the state, local, tribal, and/or territorial health department. Work with public health
or private labs as available to access testing supplies or services.

o Ifthe COVID-19 test is positive, continue medical isolation. (See Medical Isolation section above.)

o Ifthe COVID-19 test is negative, return the individual to their prior housing assignment unless they
require further medical assessment or care.

Management Strategies for Incarcerated/Detained Persons without COVID-19 Symptoms

Vv Provide clear information to incarcerated/detained persons about the presence of COVID-19
cases within the facility, and the need to increase social distancing and maintain hygiene
precautions.

© Consider having healthcare staff perform regular rounds to answer questions about COVID-19.

© Ensure that information is provided in a manner that can be understood by non-English speaking
individuals and those with low literacy, and make necessary accommodations for those with
cognitive or intellectual disabilities and those who are deaf, blind, or low-vision.

V Implement daily temperature checks in housing units where COVID-19 cases have been
identified, especially if there is concern that incarcerated/detained individuals are not

notifying staff of symptoms. See Screening section for a procedure to safely perform a temperature
check.

V Consider additional options to intensify social distancing within the facility.

Management Strategies for Staff

V Provide clear information to staff about the presence of COVID-19 cases within the facility, and
the need to enforce social distancing and encourage hygiene precautions.

© Consider having healthcare staff perform regular rounds to answer questions about COVID-19 from
staff.

V Staff identified as close contacts of a COVID-19 case should self-quarantine at home for 14 days
and may return to work if symptoms do not develop.

O See above for definition of a close contact.

0 Refer to CDC guidelines for further recommendations regarding home quarantine for staff.

Infection Control

Infection control guidance below is applicable to all types of correctional facilities. Individual
facilities should assess their unique needs based on the types of exposure staff and incarcerated/
detained persons may have with confirmed or suspected COVID-19 cases.

V All individuals who have the potential for direct or indirect exposure to COVID-19 cases or
infectious materials (including body substances; contaminated medical supplies, devices,
and equipment; contaminated environmental surfaces; or contaminated air) should follow
infection control practices outlined in the CDC Interim Infection Prevention and Control
Recommendations for Patients with Suspected or Confirmed Coronavirus Disease 2019
(COVID-19) in Healthcare Settings. Monitor these guidelines regularly for updates.

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0 Implement the above guidance as fully as possible within the correctional/detention context. Some
of the specific language may not apply directly to healthcare settings within correctional facilities
and detention centers, or to facilities without onsite healthcare capacity, and may need to be adapted
to reflect facility operations and custody needs.

o Note that these recommendations apply to staff as well as to incarcerated/detained individuals who
may come in contact with contaminated materials during the course of their work placement in the
facility (e.g., cleaning).

Staff should exercise caution when in contact with individuals showing symptoms of a
respiratory infection. Contact should be minimized to the extent possible until the infected individual
is wearing a face mask. If COVID-19 is suspected, staff should wear recommended PPE (see PPE section).

Refer to PPE section to determine recommended PPE for individuals persons in contact with
confirmed COVID-19 cases, contacts, and potentially contaminated items.

Clinical Care of COVID-19 Cases

V

Facilities should ensure that incarcerated/detained individuals receive medical evaluation and
treatment at the first signs of COVID-19 symptoms.

© Ifa facility is not able to provide such evaluation and treatment, a plan should be in place to safely
transfer the individual to another facility or local hospital.

0 ‘The initial medical evaluation should determine whether a symptomatic individual is at higher risk
for severe illness from COVID-19. Persons at higher risk may include older adults and persons of any
age with serious underlying medical conditions such as lung disease, heart disease, and diabetes. See
CDC’s website for a complete list, and check regularly for updates as more data become available to
inform this issue.

Staff evaluating and providing care for confirmed or suspected COVID-19 cases should follow
the CDC Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus
Disease (COVID-19) and monitor the guidance website regularly for updates to these
recommendations.

Healthcare staff should evaluate persons with respiratory symptoms or contact with a
COVID-19 case in a separate room, with the door closed if possible, while wearing recommended
PPE and ensuring that the suspected case is wearing a face mask.

0 If possible, designate a room near each housing unit to evaluate individuals with COVID-19
symptoms, rather than having them walk through the facility to be evaluated in the medical unit.

Clinicians are strongly encouraged to test for other causes of respiratory illness (e.g.,
influenza).

The facility should have a plan in place to safely transfer persons with severe illness from
COVID-19 to a local hospital if they require care beyond what the facility is able to provide.

When evaluating and treating persons with symptoms of COVID-19 who do not speak English,
using a language line or provide a trained interpreter when possible.

Recommended PPE and PPE Training for Staff and Incarcerated/Detained Persons

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Ensure that all staff (healthcare and non-healthcare) and incarcerated/detained persons
who will have contact with infectious materials in their work placements have been trained
to correctly don, doff, and dispose of PPE relevant to the level of contact they will have with
confirmed and suspected COVID-19 cases.

23
o Ensure that staff and incarcerated/detained persons who require respiratory protection (e.g., N95s)
for their work responsibilities have been medically cleared, trained, and fit-tested in the context of
an employer's respiratory protection program.

Personnel.
Vv Ensure that all staff are trained to perform hand hygiene after removing PPE.

V If administrators anticipate that incarcerated/detained persons will request unnecessary PPE,
consider providing training on the different types of PPE that are needed for differing degrees
of contact with COVID-19 cases and contacts, and the reasons for those differences (see Table 1).
Monitor linked CDC guidelines in Table 1 for updates to recommended PPE.

V Keep recommended PPE near the spaces in the facility where it could be needed, to facilitate
quick access in an emergency.

v Recommended PPE for incarcerated/detained individuals and staff in a correctional facility will
vary based on the type of contact they have with COVID-19 cases and their contacts (see Table 1). Each
type of recommended PPE is defined below. As above, note that PPE shortages are anticipated in
every category during the COVID-19 response.

oO N95 respirator

See below for guidance on when face masks are acceptable alternatives for N95s. N95 respirators should
be prioritized when staff anticipate contact with infectious aerosols from a COVID-19 case.

o Face mask

0 Eye protection—goggles or disposable face shield that fully covers the front and sides of the face

0 Asingle pair of disposable patient examination gloves

Gloves should be changed if they become torn or heavily contaminated.
0 Disposable medical isolation gown or single-use/disposable coveralls, when feasible

* If custody staff are unable to wear a disposable gown or coveralls because it limits access to their
duty belt and gear, ensure that duty belt and gear are disinfected after close contact with the
individual. Clean and disinfect duty belt and gear prior to reuse using a household cleaning spray
or wipe, according to the product label.

* If there are shortages of gowns, they should be prioritized for aerosol-generating procedures,
care activities where splashes and sprays are anticipated, and high-contact patient care activities
that provide opportunities for transfer of pathogens to the hands and clothing of staff.

V Note that shortages of all PPE categories are anticipated during the COVID-19 response,

particularly for non-healthcare workers. Guidance for optimizing the supply of each category
can be found on CDC’s website:

0 Guidance in the event of a shortage of N95 respirators

* Based on local and regional situational analysis of PPE supplies, face masks are an acceptable
alternative when the supply chain of respirators cannot meet the demand. During this
time, available respirators should be prioritized for staff engaging in activities that would expose
them to respiratory aerosols, which pose the highest exposure risk.

© Guidance in the event of a shortage of face masks
© Guidance in the event of a shortage of eye protection

oO Guidance in the event of a shortage of gowns/coveralls

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Table 1. Recommended Personal Protective Equipment (PPE) for Incarcerated/Detained Persons and Staff in a Correctional Facility during
the COVID-19 Response

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Classification of Individual Wearing PPE

 

 

[ Incarcerated/detained persons who are confirmed or |
_ suspected COVID-19 cases, or showing symptoms of - Y - - as
_COVID-19 !

| Incarcerated/detained persons in a work placement | |
handling laundry or used food service items from a - - = v v
_COVID-19 case or case contact

_ Cleaning areas where a COVID-19 case has spent time _ the product label. See CDC guidelines for v | Y |
| _ more details. |

| Staff

_ Staff having direct contact with asymptomati
| incarcerated/detained persons under quarantine

_as close contacts of a COVID-19 case* (but not | -
_ performing temperature checks or providing

- medical care)

_ Face mask, eye protection, and gloves as
__ local supply and scope of duties allow.

| Staff performing temperature checks on any group | |
_ of people (staff, visitors, or incarcerated/detained |
_ persons), or providing medical care to asymptomatic |
| quarantined persons | |

Staffhaving direct contact with (including transport) pT “~_ |
or offering medical care to confirmed or suspected vt v 4 v
COVID-1 9 cases (see CDC infection control guidelines) |

Staff present during a procedure on a confirmed | |
_ or suspected COVID-19 case that may generate | | | |

! respiratory aerosols (see CDC infection control Vv - v wv v

pouidelings) - .

_ Staff handling laundry or used food service items _ | | 7 /

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_ Staff cleaning an area where a COVID-19 case has Additional PPE may be needed based on

"spent time | the product label. See CDC guidelines for | gi of
__Mmoredetails | | |

* Ifa facility chooses to routinely quarantine all new intakes (without symptoms or known exposure to a COVID-19 case) before integrating
into the facility's general population, face masks are not necessary.

** A NIOSH-approved N95 is preferred. However, based on local and regional situational analysis of PPE supplies, face masks are an
acceptable alternative when the supply chain of respirators cannot meet the demand. During this time, available respirators should be
prioritized for procedures that are likely to generate respiratory aerosols, which would pose the highest exposure risk to staff.

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Verbal Screening and Temperature Check Protocols for Incarcerated/Detained
Persons, Staff, and Visitors

The guidance above recommends verbal screening and temperature checks for incarcerated/detained persons,
staff, volunteers, and visitors who enter correctional and detention facilities, as well as incarcerated/detained
persons who are transferred to another facility or released from custody. Below, verbal screening questions for
COVID-19 symptoms and contact with known cases, and a safe temperature check procedure are detailed.

V Verbal screening for symptoms of COVID-19 and contact with COVID-19 cases should include
the following questions:

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Today or in the past 24 hours, have you had any of the following symptoms?
® Fever, felt feverish, or had chills?
* Cough?
" Difficulty breathing?

In the past 14 days, have you had contact with a person known to be infected with the novel coronavirus

(COVID-19)?

V_ The following is a protocol to safely check an individual’s temperature:

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Perform hand hygiene

Put on a face mask, eye protection (goggles or disposable face shield that fully covers the front and
sides of the face), gown/coveralls, and a single pair of disposable gloves

Check individual’s temperature

If performing a temperature check on multiple individuals, ensure that a clean pair of
gloves is used for each individual and that the thermometer has been thoroughly cleaned
in between each check. If disposable or non-contact thermometers are used and the screener did
not have physical contact with an individual, gloves do not need to be changed before the next check.

If non-contact thermometers are used, they should be cleaned routinely as recommended by CDC for
infection control.

Remove and discard PPE
Perform hand hygiene

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Ex. 8
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Dates and Quantities of Cleaning Supplies and Soap Delivered to the CDF and CTF, by Date
December 31, 2019 - April 13, 2020

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Summary Product
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Ex. 9
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Ex. 10
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GOVERNMENT OF THE DISTRICT OF COLUMBIA
DEPARTMENT OF CORRECTIONS

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THE DEPARTMENT
OF CORRECTIONS

Office of the Director

MEMORANDUM

TO: All DOC employees and contractors

FROM: Quincy L. Booth, Director

DATE: April 17, 2020

SUBJECT: Reminders and Updated COVID-19 Policies and Procedures

 

This memorandum serves as a reminder to all District of Columbia Department of
Corrections (DOC) staff and contractors of the agency’s COVID-19 policies and
procedures, informed by some new guidance from Mayor’s Order 2020-06, dated April 15,
2020. It is imperative that the following policies and procedures are enforced and
maintained:

1. Social Distancing Measures

a. Correctional officers must enforce social distancing in DOC’s correctional
facilities at all times.

b. There shall be multiple daily announcements over the agency’s public
address (PA) system reminding staff and residents of social distancing.
Specifically, the PA announcement shall remind residents to stay at least six
feet apart from each other and not to gather in groups.

c. Strict limits on the number of persons out of their cells at one time will help
with social distancing. In general, only six residents from a unit will be out
at one time for out of cell time, plus an occasional two to three cleaning
detailees.

 

2000 14" St., NW — 7" Floor | Washington, DC 20009 Telephone: 202-671-2042] Fax: 202-671-2514
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d. Group activities, such as classes, shall continue to be suspended for the
duration of the emergency period.

2. Resident out of cell time

a. All DOC residents, except those on isolation units, shall be allowed one hour
of out of cell time each day.

b. PA announcements shall be made daily to remind DOC staff and residents
that out of cell time is one hour per day.

3. Personal Protective Equipment (PPE), COVID-19 and Sick Call Education Training

a. DOC shall conduct PPE refresher courses for its staff during roll call of each
shift, until otherwise directed. These courses are and shall continue to be
documented by DOC.

b. DOC’s medical staff and sick call staff shall visit DOC’s housing units to
refresh staff and residents on PPE use, COVID-19 prevention and how to
submit sick call slips for medical visits, until otherwise directed. These visits
shall be documented by DOC.

c. All DOC staff shall wear PPE in compliance with Centers for Disease
Control guidelines while working in DOC’s correctional facilities.

4. Isolation Units
a. All residents housed in isolation units shall be allowed to shower each day.

b. All residents housed in isolation units shall be allowed, each day, free 30-
minute legal calls to their attorney of record on an un-secure and non-
monitored telephone line. Notably, a “rolling phone” will be transporting to
the residents’ cells for legal calls.

c. DOC shall provide tablets with entertainment and education content pre-
programed and activity packets (pamphlets with education materials) to
residents housed on isolation units who feel well enough to use them.

5. Unit Common Area and Cell Cleaning

 

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a. At the beginning of each shift, correctional officers working in DOC housing
units shall document the amount of cleaning product and equipment available
in the housing unit. Any shortages of cleaning product and equipment shall
be documented by the correctional officer on duty and he/she shall notify
his/her supervisor of any shortages so that additional cleaning product and
the equipment may be ordered for the housing unit.

b. During a resident’s out of cell time, correctional officers shall spray towels
with cleaning product and provide the resident with the cleaning product
sprayed paper towels and dry paper towels to clean his/her cell.

c. During each shift, correctional officers working in housing units shall verify
and document that the housing unit’s common areas are cleaned in
accordance with DOC’s cleaning schedules.

d. DOC shall post listings of all cleaning products and equipment available to
residents in each housing unit.

e. Cleaning product are diluted appropriately by DOC’s environmental team
before being provided to the units; there is no need for further dilution.

6. Linen and Laundry Exchanges

a. Each week, DOC shall provide its residents with fresh clothing and
undergarments (laundry) and towels and sheets (linens) and collect the
residents’ used items as part of the agency’s laundry and linen exchanges.

b. If a resident refuses to participate in either exchange, he/she will still be
provided with fresh laundry and linen, if supplies are available.

7. Contractor and Staff Screening and Hygiene

a. All staff and contractors who enter DOC’s facilities (except emergency
personnel responding to an emergency) shall continue to undergo a COVID-
19 screening, including a temperature check with a contactless infrared

thermometer, and answering of brief questions designed to spot early signs
of COVID-19 infection.

 

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b. All entrants who fail the COVID-19 screening shall be denied entry to
DOC’s facilities.

c. All staff responsible for COVID-19 screenings shall be re-trained on the use
of contactless infrared thermometers.

d. Non-essential visitors shall continue to be excluded for the duration of the
emergency.

e. Following the screening and before starting their tour of duty, entrants shall
wash their hands with soap and water for at least twenty seconds to prevent
the spread of disease.

f. Staff who have been determined to have recently been in sustained, close
contact with another staffer or inmate who tests positive for COVID-19 will
be informed, consistent with privacy protections, and directed according to
protocol.

8. Access to Legal Calls

a. All residents shall be allowed, each day, free 30-minute legal calls to their
attorney of record on a non-secure and un-monitored telephone line.

b. DOC staff shall cooperate to facilitate residents’ receipt of incoming calls
from their attorney. Specifically, DOC’s Case Management team has and
will continue to coordinate legal calls between DOC’s residents and their
attorney.

9. Medical Care

a. DOC staff who observe a resident exhibiting symptoms of COVID-19 shall
direct the resident to medical care, and medical staff will determine
appropriate next steps for the inmate’s health and the health of those nearby.

10. Tablets

a. Inmates may have the tablets in their cells at least for the duration of the
Public Health Emergency.

 

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b. To facilitate the sharing of the tablets by residents, all tablets shall be sanitized
between use by different residents.

ALSO, PLEASE BE ADVISED:

1. Single Cells: DOC is balancing the competing needs to protect residents’
mental health and prevent anxiety, self-harm, and suicide with the goal of
providing single cells where possible to reduce the spread of COVID-19.
Cooperate as directed in facilitating resident moves to make better use of our
Space as our population decreases.

2. Medical Reserve Corps Assistance: You may see new staffers on the
units, as DOC is requesting staff augmentation through the Medical Reserve
Corps (Corps). Corps members (thirty are being requested) may perform
such tasks as assisting with temperature checks for incoming staff and
contractors; checking residents’ temperatures daily; helping in the medical
unit and isolation units; and performing such other duties as may be required.
Their valued service will be of great assistance as needs are higher during this
challenging time.

3. Provision of Tablets Presently, DOC does not have a tablet for every
resident. Thus, we are requesting additional tablets to eliminate the need to
share, and to enable residents to communicate with their attorneys through
the tablets, as well as to enjoy the entertainment, inspirational, and
educational offerings that are pre-loaded. Activity packets shall also be
provided to residents upon request.

4. Quarantine of new arrivals. Be advised that new intakes to the facility
are placed in an “enhanced monitoring” for 14 days and should be presumed
not to have COVID-19. However, if the new intake develops COVID-19
symptoms during the “enhanced monitoring” period, they will be tested for
COVID-19 and moved to a quarantine housing in until the agency receives
their test results. If they test positive, they will be housed in an isolation unit
for treatment. If they test negative, they will remain in a quarantine unit until
they are no longer symptomatic.

 

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5. Mobile testing: As mobile testing becomes available, DOC will request
its deployment to its facilities to screen staff and residents, per CDC and DOH
guidelines.

THIS MEMO SHALL BE READ DURING ROLL CALL DURING THE NEXT
SEVEN CONSECUTIVE DAYS AND POSTED ON ALL APPROPRIATE
BULLETIN BOARDS.

 

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